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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

DIVERSIFIED OBSERVATION LLC                        )
                                                   )
               Plaintiff,                          )
                                                   ) Civil Action No. 2:17-cv-688-JRG
v.                                                 )
                                                   )
KONICA MINOLTA BUSINESS                            )
SOLUTIONS U.S.A., INC.                             )
                                                   )
               Defendant.                          )
                                                   )

                                             ORDER

       Before the Court is the Stipulated Motion for Dismissal With Prejudice of all claims and

counterclaims asserted between Plaintiff Diversified Observation LLC and Defendant Konica
    .
Minolta Business Solutions U.S.A., Inc. in this case. (Dkt. No. 23.) In light of such Stipulation,

it is hereby ORDERED that all claims asserted in this suit between Plaintiff Diversified

Observation LLC and Defendant Konica Minolta Business Solutions U.S.A., Inc. are hereby

dismissed    with    prejudice,   subject    to   the    terms    of   that   certain   agreement

entitled “AGREEMENT” and dated April 26, 2018. It is further ORDERED that all attorneys’

fees and costs are to be borne by the party that incurred them.

         SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 1st day of June, 2018.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE
